Case 4:09-cr-00024-MFU         Document 143 Filed 07/09/13          Page 1 of 1 Pageid#:
                                          369                            CLERK': OFFICE U.S.DISX COURT
                                                                            .   ATDANVILLEIVA
                                                                                       FILED

                     IN TH E U N ITED STA TES DISTRIC T C O U RT                 JUL 28 2213
                    FO R TH E W E STER N DISTRIC T O F V IR G INIA
                                 D A NV ILLE D IV ISIO N                    p'
                                                                             u%
                                                                              j
                                                                              L
                                                                              p*
                                                                               a; oLExcLv
                                                                                  Ep
                                                                                   - cWW
                                                                                      tE
UN ITED STA TE S O F A M ER IC A           )      C rim inalA ction N o.4:09-cr-00024-2
                                           )
V.                                         )      1 2255 O RDER
                                           )
W ILLIA M A LO N ZO TA Y LO R ,            )      By:     H on.Jackson L.K iser
      Petitioner.                          )              Senior U nited StatesD istrictJudge

       ln accordance w ith the w ritten M em orandlzm Opinion entered thisday,itishereby

                                         O R DER ED

thatpetitioner'smotiontovacate,setaside,orcorrectsentence,ptlrsuantto28U.S.C.j2255,is
DISM ISSED;acertificate ofappealability isDENIED;andtheaction isSTRICKEN f'
                                                                          rom the

activedocketofthecourt.

       TheClerk isdirectedto send copiesofthisOrderand theaccompanying M em orandtlm

Opinion to petitionerand counselofrecord forthe U nited States.

       EN TER : This             day ofJuly,2013.



                                                           eni United StatesDistrict dge
